 Case: 1:22-cv-02095 Document #: 57 Filed: 08/24/22 Page 1 of 1 PageID #:1496

                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

EnchantedMob, Inc.
                                                         Plaintiff,
v.                                                                    Case No.:
                                                                      1:22−cv−02095
                                                                      Honorable Jorge L.
                                                                      Alonso
The Partnerships and Unincorporated Associations
Identified on Schedule "A", et al.
                                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 24, 2022:


         MINUTE entry before the Honorable Jorge L. Alonso: Plaintiff'sMotion to
withdraw as counsel [55] is granted. Attorney Isaku Begert is given leave to withdraw as
counsel for Plaintiff. Motion hearing date of 8/31/22 is stricken. Notice mailed by Judge's
staff (lf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
